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The Honorable John C. Coughenour

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE
UNITED STATES OF AMERICA, NO. CR22-079

Plaintiff,
SUPERSEDING INFORMATION

(Felony)

RAJINDER PAL SINGH, aka JASPAL GILL,

Defendant.

The United States charges that:
COUNT 1
(Conspiracy to Transport and Harbor Certain Aliens for Profit)

Beginning at a time unknown, and continuing until May 24, 2022, in Whatcom,
King, and Thurston Counties, within the Western District of Washington, and elsewhere,
RAJINDER PAL SINGH, and others known and unknown, did knowingly and
intentionally conspire to transport and move certain aliens, who had come to, entered and
remained in the United States in violation of law, within the United States by means of
ianepottation and otherwise, in furtherance of such violation of law, and to conceal,
harbor and shield from detection by immigration authorities such aliens, with the intent-to

violate the law, for the purpose of commercial advantage and private financial gain.

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All in violation of Title 8, United States Code, Sections 1324(a)(1VA)W\D, (ii),

and (iii), and 1324(a)(1)(B)(@).
COUNT 2
(Conspiracy to Commit Money Laundering)

Beginning at a date unknown, but within the last five years, and continuing until
on or about May 24, 2022, in the Western District of Washington, and elsewhere,
RAJINDER PAL SINGH, and others known and unknown, did knowingly and
intentionally conspire to commit certain fatiey laundering offenses under Title 18,
United States Code, Section 1957, as follows:

(1957)

RAJINDER PAL SINGH, and others known and unknown, did knowingly engage
in, and attempt to engage in, one or more monetary transactions, that is the deposit,
withdrawal, transfer, and exchange, in and affecting interstate and foreign commerce, of
funds, by, through, and to a financial institution, with funds in an amount greater than
$10,000 that were in fact derived from, and that RAJINDER PAL SINGH knew were
derived from, a specified unlawful activity, that is Conspiracy to Transport and Harbor
Certain Aliens for Profit, in violation of Title 8, United States Code, Sections
1324(a)(1)(A)(v)(1), ii), and (iii), and 1324(a)(1)(B)(i).

All in violation of Title 18, United States Code, Sections 1957 and 1956(h).

FORFEITURE ALLEGATION

The allegations contained in Counts 1—2 of this Superseding Information are
hereby realleged and incorporated by reference for the purpose of alleging forfeiture.

Upon conviction of the offense alleged in Count 1, the defendant RAJINDER PAL
SINGH shall forfeit to the United States, pursuant to Title 18, United States Code,
Section 982(a)(6)(A) and Title 8, United States Code, Section 1324(b)(1), by way of Title

28, United States Code, Section 2461(c), any property that constitutes or is traceable to

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proceeds of the offense, as well as any property that facilitated the offense. This property
includes, but is not limited to:

a. $41,293 in U.S. currency that was seized from his residence at
10074 Dona Neely Way, Elk Grove, CA, on May 24, 2022;

b. $3,470 in Canadian currency that was seized from his residence at
10074 Dona Neely Way, Elk Grove, CA, on May 24, 2022;

C. $1,000 in Euros that was seized from his residence at 10074 Dona
Neely Way, Elk Grove, CA, on May 24, 2022;

d. $4,116 in U.S. currency that was seized from his residence at 2743
Fiddleback St. NE, Lacey, WA, on May 24, 2022;

e. A Secure Spend prepaid Mastercard that was seized from his
residence at 2743 Fiddleback St. NE, Lacey, WA, on May 24, 2022;

f. An Uber Gift card that was seized from his residence at 2743
Fiddleback St. NE, Lacey, WA, on May 24, 2022;

g. $231 in U.S. currency that was seized from a white 2010 Nissan
Armada, on May 24, 2022; and

h. A sum of money in the amount of $500,000, representing
unrecovered proceeds that RAJINDER PAL SINGH personally obtained from the
Conspiracy to Transport and Harbor Certain Aliens for Profit.

Upon conviction of the offense alleged in Count 2, the defendant RAJINDER PAL
SINGH shall forfeit to the United States, pursuant to Title 18, United States Code,
Section 982(a)(1), any property that was involved in the commission of the offense.

Substitute Assets. If any of the above-described forfeitable property, as a result of
any act or omission of the relevant defendant,

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the Court;

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d. has been substantially diminished in value; or,
e. has been commingled with other property which cannot be divided without
difficulty;

it is the intent of the United States to seek the forfeiture of any other property of the
defendant, up to the value of the above-described forfeitable property, pursuant to Title
21, United States Code, Section 853(p).
ath
DATED this _ day of February, 2023.

Sarat G: Nagel, fer

NICHOLAS W. BROWN
United States Attorney

THOMAS WOODS
Assistant-Ynited States Attorney

19ePH SILVIO
ssistant United States Attorney

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